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                           UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF TEXAS

 MALIBU MEDIA, LLC,                               )
                                                  )
        Plaintiff,                                )    Civil Action Case No.4:18-cv-00220
                                                  )
 v.                                               )
                                                  )
 MIKE DAGHER,                                     )
                                                  )
        Defendant.                                )
                                                  )

                     PLAINTIFF’S NOTICE OF VOLUNTARY DISMISSAL
                          WITH PREJUDICE OF MIKE DAGHER

       PLEASE TAKE NOTICE, Plaintiff has settled this matter with Mike Dagher

(“Defendant”) through his counsel. Pursuant to the settlement agreement’s terms, Plaintiff hereby

voluntarily dismisses Defendant from this action with prejudice. Pursuant to Fed.R.Civ.P.

41(a)(1)(A)(i) Defendant has neither answered Plaintiff’s Complaint nor filed a motion for

summary judgment.

       Consistent herewith Plaintiff consents to the Court having its case closed for administrative

purposes.

       Dated: July 16, 2018.
                                                      Respectfully submitted,

                                                      By: /s/ Paul S. Beik
                                                      Paul S. Beik
                                                      Texas Bar No. 24054444
                                                      S.D. Tex. ID No. 642213
                                                      BEIK LAW FIRM, PLLC
                                                      8100 Washington Ave., Suite 1000
                                                      Houston, TX 77007
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                                                      ATTORNEY FOR PLAINTIFF


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                                 CERTIFICATE OF SERVICE
       I hereby certify that, on July 16, 2018, I electronically filed the foregoing document with

the Clerk of the Court using CM/ECF and that service was perfected on all counsel of record and

interested parties through this system.

                                                    By: /s/ Paul S. Beik
                                                    PAUL S. BEIK




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